
213 F.Supp. 936 (1963)
Mrs. Dorothy H. BERGERON et al.
v.
AERO ASSOCIATES, INC., et al.
Civ. A. No. 8716.
United States District Court E. D. Louisiana.
January 17, 1963.
Wollen J. Falgout, Thibodaux, La., Raymond H. Kierr, New Orleans, La., for plaintiffs.
W. L. Von Hoene, New Orleans, La., for George Broskey, plaintiff.
R. Douglas Wynne, David R. Normann, New Orleans, La., for Zurich Ins. Co. and others.
A. R. Christovich, Jr., New Orleans, La., for Underwriters at Lloyds.
ELLIS, District Judge.
This cause came on for hearing on a former day to determine the location of the accident in suit and establish the remedies available to the plaintiffs.
The court, having considered the evidence and the arguments of counsel, is now ready to rule.

FINDINGS OF FACT
1. This accident arises out of the crash of a helicopter on February 1, 1958, in navigable waters southeast of Grande Isle, Louisiana.
2. The location of the crash was less than one-half mile from a drilling rig located at latitude 29° 6' 5.2" north and longitude 89° 58' 41.7" west.
3. The crash was approximately 48,000 feet from the nearest shore, that is, the mid-terminus point of Grande Isle, Louisiana.
4. The crash occurred more than one marine league from shore.

CONCLUSIONS OF LAW
1. The survivors of the decedents have a cause of action under the Death on the High Seas Act, 46 U.S.C.A. § 761.
2. The plaintiff suffering personal injuries has a cause of action in maritime tort. Guess v. Read, 5 Cir., 290 F.2d 622; Pure Oil Co. v. Snipes, 5 Cir., 293 F.2d 60.
